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A0 2433 (Rev 06/05) She3 1 - Judgment in a Criminal Case


                           UNITED S TA TES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                     TAMPA DIVISION



UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER: 8:04-cr-374-T-30TBM
                                                              USM NUMBER: 64586-004
VS.


WAYNE HODGSON-DAVlS
                                                              Defendant's Attorney: James Arrmngton, cja

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                    NATURE OF OFFENSE                           OFFENSE ENDED

21 U.S.C. 86963 and                Conspiracy to Import into the United        September 9, 2004
960(b)(l)(B)(ii)                   States Five Kilograms or More of
                                   Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
X Count(s) TWO and THREE are dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                               Date of Imposition of Sentence: July 28, 2006




                                                                               DATE: July   A,        2006
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:         WAYNE HODGSON-DAVIS                                                            Judgment - Page 2 of 6
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        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $9
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to coniply with the
statutory purposes of sentencing.

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of ONE HUNDRED and EIGHT (108) MONTHS as to Count One of the Indictment.

        The defendant was arrested on 11/24/04 in Columbia and held in custody pending his extradition to the United
States. Defendant shall be given credit for his time held in custody.




X The court makes the following reco~ntnendationsto the Bureau of Prisons: The defendant shall be placed at FCI Jesup (GA),
-
if possible.

X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at - a.m./p.m. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

- at                                                                              , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                        By:
                                                                                         Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         WAYNE HODGSON-DAVIS                                                                   Judgment - Page 3 of 6
Case No.:          8 :M-cr-374-T-3OTBM
                                                          SUPERVISED RELEASE

       Cpon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS as
to Count One of the Indictment.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody or the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled
substance. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall rcport to thc probation officer and shall submit a truthful and co~iipletewritten report within the first five days of each
           month;

           the defendant shall answcr truthfully all inquiries by the probation officer and follow ~ h instructions
                                                                                                       c            of the probation officer;

           thc defendant shall support his or her dependents and meet other family responsibil i tics;

           the defendant shall work regularly at a lawful occupation, unless excused by thc probation officer for schooling, training, 01- other
           acceptable reasons:

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use. distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall pernit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
           contraband observed in plain view of the probation officcr;

           the defendant shall notify the probation officer within seventytwo hours of being arrestcd or questioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an informcr or a special agent of a law enforcement agency without the
           pcrrnission of the court; and

           as directed by the probation officcr, the dcfcndant shall notify third parties of risks that may be occasioncd by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to rnnke such notifications and to confiml the defendant's
           compliance with such notification rcquirement.
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A 0 245B (Rev. 06105) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        WAYNE HODGSON-DAVIS                                                       Judgment - Page 4 of J-
Case No. :        8:04-cr-374-T-3OTBM

                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

X
-        If the defendant is deported, helshe shall not be allowed to re-enter the United States without the express permission of the
         appropriate governmental authority.

-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
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A 0 2453 (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant          WAYNE HODGSON-DAVIS                                             Judgment - Page 5 of A
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                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessment                            -
                                                                 Fine                       Total Restitution

         Totals:            $100.00                              Waived                     NIA


-        The determination of restitution is deferred until         .     An Amended Jzrdgnrent in a Crirnir~alCase ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment colunln below. However, pursuant to 18 U.S.C. tj
         3664(i). all non-federal victims must be paid before the dnited States.


Name of Pavee                                 Total Loss*                 Restitution Ordered               Priority or Percentage




                            Totals:           L                           L

-        Restitution amount ordered pursuant to plea agreement $
         The defendant must pay interest on a fine or restitution of more than $2.500. unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 36 12(f). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -        the interest requirement is waived for the - f i e        - restitution.

        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, 110A, and 113A of Title 18 for the offenses
committed on or after September 13. 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Paymen~s(Judgment in a Critninal Case)

Defendant:        WAYNE HODGSON-DAVIS                                                      Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.        X       Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                    , Or
                            -in accordance - C, - D, - E or - F below; or
B.       -        Payment to begin immediately (may be combined with -C, -D, or -F below): or
C.       -        Payment in equal
                  period of
                                                               .
                                                     (e.g . weekly, monthly, quarterly) installments of $
                                     (e.g . , months or years), to coinnlence
                                                                                                                      over a
                                                                                         days (e.g., 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                  (e.g ., weekly, monthly, quarterly) installments of $                over a
                  period of
                               , (e .g ., months or years) to commence                      (e.g . 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
E.       -       Payment during the term of supervised release will commence within                          (e-g., 30 or
                 60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
         the defendant s ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and
                                                                                                               Y
property. or portions thereof, subject to forfeiture. which are in the possession or control o the defendant or the
defendant's nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) conmunity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
